
USCA1 Opinion

	




          July 30, 1993     UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ___________________          No.  92-1756                         IN RE: ANTONIO L. CORDOVA-GONZALEZ,                                      Appellant.                                 _________________          No.  92-8038                                          IN RE:                                ANTONIO L. CORDOVA-GONZALEZ,                                        Petitioner.                                 ____________________                                     ERRATA SHEET               The  opinion of  this  court issued  on  June 30,  1993,  is          amended as follows:               On page 7, line 10:  delete the word "his".          July 1, 1993      UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ___________________          No. 92-1756                         IN RE: ANTONIO L. CORDOVA-GONZALEZ,                                      Appellant.                                 ____________________          No. 92-8038                                       IN RE:                              ANTONIO L. CORDOVA-GONZALEZ                                     Petitioner.                                _____________________                                     ERRATA SHEET               The  opinion of  this  Court issued  on  June 30,  1993,  is          amended as follows:               On  cover  sheet caption  for  No. 92-1756  change  the name          "Antenio" to "Antonio".                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                                        ___________________          No. 92-1756                                     IN RE: ANTONIO L. CORDOVA-GONZALEZ,                                      Appellant.                                  __________________          No. 92-8038                                        IN RE:                             ANTONIO L. CORDOVA-GONZALEZ,                                     Petitioner.                                ______________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                           FOR THE DISTRICT OF PUERTO RICO                    [Hon. Hector M. Laffitte, U.S. District Judge]                                              ___________________                                 ___________________                                        Before                                 Breyer, Chief Judge,                                         ___________                            Selya and Cyr, Circuit Judges.                                           ______________                                 ___________________               Antonio Cordova-Gonzalez on brief pro se.               ________________________                                  __________________                                    June 30, 1993                                  __________________                 Per Curiam.   Antonio Cordova Gonzalez  was disbarred by                 __________            the United States  District Court for the District  of Puerto            Rico.  Cordova appealed  that decision.   This  court ordered            Cordova to  show cause why we should  not disbar him as well.            The matters  were consolidated.   We now affirm  the district            court's order,  and disbar Cordova from  practice before this            court.                                          I                                          _                 Cordova does not seriously dispute the facts as found by            Magistrate  Arenas, the  committee  of lawyers  appointed  by            Judge  Laffitte, and the district  court.  We  agree with the            committee that,  with respect to the  first charge, involving            the provision of bail on behalf of Cordova's client Irma Cruz            Vazquez, Cordova  may not "technically" have  violated D.P.R.            Local Rule  401.1(C)(3).  The  rule prohibits  a lawyer  from            standing bail for  his client,  but in this  case it  appears            that Cordova's  wife  actually posted  the bond,  and it  was            never conclusively  determined that  Cordova owned or  had an            interest in the property that his wife put up to secure Cruz'            release.    This  technicality,  however,  does  not  absolve            Cordova of all culpability in the matter: the committee found            that Cordova's wife posted bail "under his auspices and  with            his  express concurrence,"  and did  so by  pledging property            that was  subject to the  jurisdiction of  the United  States            Bankruptcy Court in bankruptcy proceedings that involved both                                         -2-            Mr.  and  Mrs. Cordova.    Cordova therefore  connived  at an            effort  to deceive  the  district court  by obtaining  Cruz's            release  through the  pledge  of property  that  was not  the            pledgor's to give, and thus violated ABA Model Rule 8.4(d) by            engaging in conduct that is prejudicial to the administration            of justice.1                 With respect  to the  second charge,  we agree with  the            district court  that Cordova  violated ABA Model  Rule 1.8(a)            when he borrowed $100,000  from his client Jose Lopez-Nieves.            Rule 1.8(a) prohibits a lawyer from  entering into a business            transaction  with a  client unless,  among other  things, the            terms of  the transaction  are fair  and reasonable  and "are            fully disclosed and transmitted in writing to the client in a            manner  which can  be reasonably  understood by  the client."            Cordova borrowed  money from Lopez-Nieves  without disclosing            to his client (a) that he did not own the property pledged as            collateral, (b) that his wife -- who did own the collateral -            -  and he  were involved  in bankruptcy proceedings,  and (c)            that the collateral  was subject to  the jurisdiction of  the            bankruptcy court, which had not approved the pledge.                 As  to the  third charge,  that Cordova  filed pleadings            containing vitriolic  slurs on  judges and lawyers  that were                                            ____________________            1.   The American Bar Association Model Rules of Professional            Conduct govern the conduct of lawyers who practice before the            United  States District  Court in  Puerto  Rico.   Local Rule            211.4(B).                                         -3-            "degrading to  the law, the  bar and the Court,"  we will not            repeat Cordova's  invective  here.   We  do find  the  record            adequate legally  to support the  district court's conclusion            that the  pleadings  Cordova  submitted  "show  an  incessant            incorporation  of abusive and  disrespectful language against            judges  and  opposing  counsel, replete  with  offensive  and            vituperative statements in contravention  of Rules 3.5(c) and            8.4(d) of the Model Rules of Professional Conduct."                                          II                                          __                 We  review  the  district  court's  decision  to  disbar            Cordova  only  for  abuse  of  discretion,  In  re  Grievance                                                        _________________            Committee of  United States District  Court, 847 F.2d  57, 61            ___________________________________________            (2d Cir.  1988); In  re Evans,  801 F.2d 703,  706 (4th  Cir.                             ____________            1986);  In re  Olkon, 795  F.2d 1379,  1381 (8th  Cir. 1986);                    ____________            Standing Committee on Discipline v. Ross, 735 F.2d 1168, 1172            ________________________________    ____            (9th Cir. 1984), and we find none here.  Cordova  is a lawyer            of  some   thirty  years  experience,  and   no  stranger  to            disciplinary proceedings.   See  In re Cordova  Gonzalez, 726                                        ___  _______________________            F.2d 16 (1st Cir.  1984); In re Antonio Cordova  Gonzalez, 90                                      _______________________________            J.T.S. 28 (P.R. 1990).   His dealings  with his client Lopez-            Nieves show a  lack of  consideration for the  duty of  trust            between lawyer and client that finds expression in Model Rule            1.8(a).   Standing alone, such a  transgression would warrant            significant punishment.   See,  e.g., People v.  Bennett, 843                                      __________  ______     _______            P.2d 1385, 1387 (Colo.  1993) (lawyer disbarred for borrowing                                         -4-            from clients); Lipson v. State Bar, 810 P.2d 1007 (Cal. 1991)                           ______    _________            (lawyer suspended).    Here Cordova's  misconduct toward  his            client comes accompanied  by his misconduct in  the Cruz case            and his  verbal attacks upon opposing counsel  and the court.            Cordova had been  warned on  at least two  occasions, by  two            different courts, that  further intemperate accusations would            expose  him to  disciplinary action.   He  continued  to make            vitriolic and, as far as the record shows, unfounded personal            assaults.   Attorneys  have  on a  number  of occasions  been            disbarred for such conduct.  See, e.g., In re Evans, 801 F.2d                                         _________  ___________            at 706;  In re Whiteside,  386 F.2d  805 (2d Cir.  1967); see                     _______________                                  ___            generally, ABA/BNA Lawyers' Manual on Professional Conduct at            _________            101:609 and cases cited therein.  We therefore conclude that,            in this case, the punishment is  not out of proportion to the            offense.                                         III                                         ___                 We reject Cordova's claim that he was denied due process            during  the  investigation  and  resolution  of  the  charges            against him.  Although  attorney discipline proceedings  have            been called  "quasi-criminal," In  re Ruffalo, 390  U.S. 544,                                           ______________            550  (1968), the  due  process rights  of  an attorney  in  a            disciplinary proceeding "do not extend so far as to guarantee            the  full panoply  of  rights afforded  to  an accused  in  a            criminal case."  Razatos v. Colorado Supreme Court,  746 F.2d                             _______    ______________________            1429, 1435 (10th  Cir. 1984) (quoting People v. Harfmann, 638                                                  ______    ________                                         -5-            P.2d 745, 747 (Col.  1981)).  See also Rosenthal  v. Justices                                          ________ _________     ________            of Supreme  Court, 910 F.2d 561,  564 (9th Cir.  1990); In re            _________________                                       _____            Daley, 549 F.2d  469, 476 (7th Cir. 1977) and  cases cited at            _____            footnote 6; Fitzsimmons v. State Bar of California, 667  P.2d                        ___________    _______________________            700,  703-4   (Cal.  1983).    Rather,   an  attorney  facing            discipline "is entitled to  procedural due process, including            notice  and  an opportunity  to  be  heard."    Rosenthal  v.                                                            _________            Justices of Supreme Court, 910 F.2d at 564.  See also Lowe v.            _________________________                    ________ ____            Scott,  959 F.2d  323, 335  (1st Cir.  1992) (due  process in            _____            proceeding to  revoke physician's license  requires notice of            the  charges and  an opportunity  to be  heard).   The record            shows  that Cordova  received notice  of the  charges against            him, and had an  opportunity to respond to those  charges, at            every stage of the proceedings.                 We also reject Cordova's claim that two of  the district            court  judges who  took part  in the  decision to  disbar him            should have refrained from  participation.  At various times,            Cordova filed  six motions  to disqualify Judges  Laffitte or            Perez-Gimenez.2   However, his subjective impressions of bias            or  prejudice, no  matter how  vehemently expressed,  find so            little, and such weak,  objective corroboration in the record            that we  see no reason to  deem the judges' decision  to take            part in the disciplinary  proceedings an abuse of discretion.                                            ____________________            2.  Several of  the motions also sought  the disqualification            of  Judge Fuste,  who recused  himself and  did not  sign the            opinion that disbarred Cordova.                                         -6-            See Blizard v.  Frechette, 601 F.2d  1217, 1220-21 (1st  Cir.            ___ _______     _________            1979).                                          IV                                          __                 Under Fed. R.  App. P. 46(b),  when "it is  shown to  [a            court  of  appeals]  that any  member  of  its  bar has  been            suspended or  disbarred from practice  in any other  court of            record  . . .,  the member will  be subject to  suspension or            disbarment by  the  court [of  appeals]."   "[T]he record  of            prior  disciplinary  proceedings  in  district  court are  of            substantial  relevance in  determining  whether  an  attorney            should be disbarred from practice before" a court of appeals.            In re  Evans, 834 F.2d 90,  91 (4th Cir. 1987).   Cordova has            ____________            neither disproved the charges  against him, nor explained, as            Rule  46(b)  requires, why  we  should  not impose  the  same            sanction  as the  district  court.   Cordova's misconduct  in            dealings with  his Lopez-Nieves  and Cruz, and  his flagrant,            repeated  disrespect for  the tribunals  before which  he has            practiced, warrant his disbarment.                 The decision of the district court is affirmed.  Cordova                                                       ________            is disbarred from practice before this court.               _________                                         -7-

